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                         Exhibit J
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August 13, 2021

Food and Drug Administration
Center for Drug Evaluation and Research
Division of Urology, Obstetrics, and Gynecology
5901-B Ammendale Road
Beltsville, MD 20705-1266

Re: US Food and Drug Administration’s review of the risk evaluation and mitigation
strategy for mifepristone

Dear Dr. Christine Nguyen:

On May 7, 2021, the US Food and Drug Administration (FDA) announced a review of the risk
evaluation and mitigation strategy for the drug mifepristone (hereafter, the mifepristone REMS).
On behalf of the Society of Family Planning, the academic society for Complex Family Planning
subspecialists and over 1,000 academicians, scientists, and partners focused on abortion and
contraception research and clinical care, we write to share relevant evidence to support your
review of the mifepristone REMS. We appreciate the opportunity to lend the expertise of the
Society and its members to this process and applaud your efforts, as a science-based agency,
to center sound medical evidence in the decision-making process related to mifepristone and its
distribution and use.

As the organization representing Complex Family Planning Fellowship-trained obstetrician-
gynecologists—the leaders in clinical care and medical education related to complex abortion
and contraception—we conclude the additional controls provided by the REMS are not
medically necessary to ensure patient safety. Our 30 years of experience within the Fellowship
providing abortion and pregnancy loss care in complex cases, as well as the existing evidence
on this topic described in detail below, does not support requiring provider certification and
registration to prescribe mifepristone or restricting the healthcare professionals that can
prescribe mifepristone. Mifepristone is extremely safe and highly effective when provided via a
health center, pharmacy, or home delivery, and does not require a clinician to oversee
dispensing.

On behalf of our expert membership, we offer the following summary of peer-reviewed scientific
evidence related to the mifepristone REMS, with a focus on research published since the most
recent FDA-approved labeling change in 2016. We conclude that the current REMS,
specifically the provisions that require provider certification and registration and restrict
where mifepristone may be dispensed, confers no benefit in terms of safety, efficacy, or
acceptability of the drug mifepristone and instead creates barriers to use that negatively
impact public health and equity in access to care.
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Requiring provider certification and registration to prescribe mifepristone is unnecessary
because it does not increase patient safety and constrains abortion provision.

   •   The mifepristone REMS currently requires that providers are specially certified to
       prescribe the drug and must register as prescribers directly with the
       manufacturer(s); however, there is no evidence this requirement increases
       abortion safety. In Canada, mifepristone-specific requirements for provider certification
       were lifted in November 2017. According to a comprehensive analysis of linked medical
       and financial records in Ontario, medication abortion remained extremely safe after
       deregulation, with a major complication rate of 0.33% compared to a rate of 0.31% in an
       analysis of a similar administrative dataset from California under the REMS, and
       consistent with a clinical review finding major complication rates <1% across multiple
       studies of mifepristone use for early abortion.1–3

   •   Requiring provider certification and registration prevents many providers from
       incorporating mifepristone into their scope of practice. In a representative national
       population-based survey of obstetrician-gynecologists, Grossman and colleagues found
       that 28% of obstetrician-gynecologists who did not currently provide care using
       mifepristone would do so if they could prescribe it similarly to other drugs.4 Several
       recent, rigorous qualitative studies with diverse groups of clinicians have also
       demonstrated how the REMS creates barriers to incorporation of mifepristone into
       practice by creating administrative burdens that clinical champions are unable to
       overcome.5,6

The current restrictions on where mifepristone may be dispensed are unnecessary
because mifepristone dispensing in clinical care settings is not associated with higher
efficacy, greater safety, or greater acceptability compared to dispensing in brick-and-
mortar pharmacies or via postal mail or delivery service.

   •   The requirement for in-person dispensing of mifepristone in certain health care
       settings confers no safety benefit. Through the mifepristone labeling change
       approved in 2016, the FDA recognized that requiring misoprostol be administered in
       clinical settings as part of early abortion care is unnecessary. As the summary of the
       peer-reviewed literature below suggests, patient self-administration of mifepristone at
       home is effective, safe, and acceptable. However, the current mifepristone REMS further
       require that mifepristone be distributed “only in…clinics, medical offices, and hospitals.”

   •   Mifepristone can be safely dispensed in brick-and-mortar pharmacies. Pharmacists
       are well qualified to assure safe dispensing of medications with a comparable safety
       profile to the 200 mg mifepristone tablet, including the 300 mg formulation of
       mifepristone for Cushing’s syndrome, which is not subject to a REMS. Evidence from
       high-income countries with health care infrastructure comparable to the US has
       demonstrated the acceptability of pharmacy dispensing of mifepristone. For example,
       mifepristone is currently distributed by pharmacists in Canada, a practice that Canadian
       physicians report facilitates the provision of medication abortion with mifepristone.7 In the
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       US, physicians support pharmacy dispensing of mifepristone. In a qualitative study of
       primary care providers’ perceptions of and experiences with mifepristone, Rasmussen
       and colleagues found that primary care providers in Illinois support pharmacy dispensing
       of mifepristone, describing it as a more patient-centered approach to administration of
       this drug.8 Further, a recent US study demonstrated that pharmacy dispensing of
       mifepristone is safe and effective. In a study that included eight pharmacies in California
       and Washington state, Grossman and colleagues demonstrated that mifepristone
       dispensing by pharmacists in the pharmacy setting after the patient received counseling
       from a clinician is as effective (93.5% abortion completion with medication alone) as in-
       clinic dispensing efficacy reported by Winikoff and colleagues in a large multi-site
       national trial.9,10 In Grossman and colleagues’ study, only three (1.3%) participants
       visited an emergency department during the study follow up period, a lower proportion
       than most clinical trials of medication abortion using in-clinic mifepristone administration
       (range 2.9-4.1%).10,11

   •   Mifepristone can also be safely dispensed by mail. In a large (N=1,157 abortions)
       national US-based clinical trial of mifepristone dispensing by mail (the Teleabortion
       study), Chong and colleagues also found that mifepristone dispensing by direct mail to
       consumers is effective (95% abortion completion with medication alone), with only 0.9%
       experiencing any serious adverse event compared to an adverse event rate of 0.65% in
       a large (N=233,805 medication abortions) retrospective cohort study of in-clinic
       mifepristone administration.12,13

   •   Retrospective analyses of rapid practice adaptations in the context of the COVID-
       19 pandemic further demonstrate the safety, efficacy, and acceptability of
       mifepristone dispensing by mail. In a large (N=52,218) retrospective cohort study,
       Aiken and colleagues reported on the safety, efficacy, and acceptability of telemedicine
       abortion at Britain’s largest abortion providers, which rapidly adapted to provide
       medication abortion using telemedicine during the spring and summer of 2020.14
       Following a telehealth consultation, individuals with a last menstrual period dating the
       pregnancy up to 69 days and without symptoms of ectopic pregnancy were able to
       receive both mifepristone and misoprostol for home administration. Investigators found
       that while medication abortion was equally effective in the telemedicine model (98.8%)
       vs the traditional in-clinic mifepristone administration model (98.2%, p=1.0), individuals
       using telemedicine had a shorter wait time between first contact and initiating the
       medication abortion (6.5 days vs. 10.7 days, p<0.001).

   •   Whether patients receive mifepristone at a pharmacy or by mail, they report high
       acceptability. In their pharmacy dispensing study, Grossman and colleagues report that
       74.3% of patients would recommend pharmacy dispensing of mifepristone to a friend in
       a similar situation, and 65.4% were highly satisfied with their abortion experience.9
       Hyland and colleagues report that 97% of women cared for by an Australian
       telemedicine medication abortion service report high satisfaction, and Chong and
       colleagues report that 85% of participants in the Teleabortion study found their abortion
       experience “very satisfactory”.12,15
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Requiring provider certification and registration to prescribe mifepristone and
mifepristone dispensing restrictions may lead to abortions happening later in pregnancy.
Unfortunately, abortions become more socially and clinically complicated the further along in a
pregnancy the abortion occurs.2,16–18 Thus, restrictions such as the mifepristone REMS that limit
people’s ability to access abortion as soon as they discover they are pregnant negatively impact
public health. Delays are particularly problematic for people with low incomes as abortions after
the first trimester are more expensive and often result in even further delays in obtaining a
desired abortion.19–21 In Canada, where abortions are covered as part of universal health care,
the proportion of abortions in the second trimester decreased by approximately 12% after
mifepristone deregulation.1 In the US, where limited access and cost are major contributors to
delays in abortion, lifting the REMS may result in an even greater shift in abortions to earlier
gestational ages.

The National Academies of Science, Engineering, and Medicine defines quality abortion care as
safe, effective, patient-centered, timely, efficient, and equitable.16 By unnecessarily limiting
the number of mifepristone providers in the US, the mifepristone REMS adversely
impacts timeliness and equity in access to care. As the academic society representing
Complex Family Planning subspecialists, scientists, and partners focused on abortion and
contraception research and clinical care, we hope this sound medical evidence is held central in
your review of the mifepristone REMS. We appreciate your commitment to centering science
and ensuring that policy decisions are based on the latest evidence.


Sincerely,

The Society of Family Planning Board of Directors
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